Case 2:03-cv-02252-BBD-dkv Document 24 Filed 07/06/05 Page`l ofg_v_, -Page:|*[),__d¢_§

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FoR THE WESTERN DISTRICT oF TENNESSEE
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ANGELA F. ROBERTS,
Plaintiff, Case No.: 03-2252 D A
v.
ALLSTATES FABRICATING
COMPANY, INC., FKI LOGISTEX,
and FKI INDUSTRIES INC.,

Defendants.

 

ORDER ON MOTION FOR SCHEDULING ORDER
AND TO SET MATTER FOR TRIAL

 

Before the Court is the motion of Plaintit`f for a scheduling order and to set the matter for
trial. Upon reviewing the case file, it appears that the Plaintiff' s motion is well-taken. Accordingly,

Plaintit`f’s motion is granted and a separate scheduling order and trial date will be entered.

IT rs So oRl)ERED this [¢ J‘~ day o%¢_¢é} ,2005.

B RNICE BO IEDONALD
ITED STATES DISTRICT IUDGE

  
     

This document entered on the docket eat in compliance
with Ftule 53 and/or 79(a) FRCP on j H’H 2

 

 

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Honorable Bernice Donald
US DISTRICT COURT

